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AO 245B (Rev 09/19)    Judgment m a Cnmmal Case
                       Sh;et 1



                                        UNITED STATES DISTRICT COURT
                                                        Eastern District of Pennsylvania

              UNITED STATES OF AMERICA                                                       JUDGMENT IN A CRIMINAL CASE
                                  v.
                      STAMATIOS KOUSISIS                                                     Case Number: DPAE2:18CR00130-01

                                                                                             USM Number: 76594-066

                                                                                                 MARK E. CEDRONE
                                                         f(A1Ct)AC'CllA1Jt1 '\.,.,c,... Defendant's Attorney
                                                               a.Jn•:- ~'V,"\.;r"' ••
THE DEFENDANT:                                         Br -------·/""• .......
                                                                          "°'"£... ·-......-·.
                                                                                          ~}

D pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
  which was accepted by the court.
~wasfoundguiltyoncount(s)              _ 1 1 21-~,41 91 11 1 12, 131 141 151 16_
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                                    Offense Ended
18:1349                          CONSPIRACY                                                                           2/1/2015               1
18:1343 and 1349                 WIRE FRAUD                                                                           2/12/2009              2-4
18:1001                          FALSE STATEMENTS                                                                     2/25/2013              9 and 11 - 16

       The defendant is sentenced as provided in pages 2 through                        7            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
!ill' The defendant has been found not guilty on count( s)          5AND6
DCount(s)                                                Dis         Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attom       r this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments · p ed by this ju      ent are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of materia ch ges in eco o 1c circumstances.

                                                                                                                    11/6/2019




                                                                             Signature of Judge




                                                                                                 Wendy Beetlestone, United States District Judge
                                                                             Name and Title -of Judge -


                                                                                                                    11/7/2019
                                                                             Date
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AO 245B (Rev 09/19) Judgment in Cnnunal Case
                    Sheet 2 - Impnsonment

                                                                                                      Judgment - Page      2    of   7
 DEFENDANT:           STAMATIOS KOUSISIS
 CASE NUMBER:            DPAE2:18CR00130-01

                                                           IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  70 months on each of Counts 1 through 4, 9, and 11 through 16, to be served concurrently.




     D The court makes the following recommendations to the Bureau of Prisons:




     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at                                  D a.m.       D p.m.         on
          D as notified by the United States Marshal.

     ~   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         g    before 2 p.m. on       1/6/2020
         D as notified by the United States Marshal.
         D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to
at                                              . , with a certified copy of this judgment.



                                                                                                 l;J\,1TED   ST A TES MARSHAL

                                                                       By
                                                                                              DEPt:TY UNITED STAIBS-MARsHAL
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AO 245B (Rev 09/19)   Judgment m a Cnminal Case
                      Sheet 3 - Supervised Release
                                                                                                        Judgment Page _   3     of        7
DEFENDANT: STAMATIOS KOUSISIS
CASE NUMBER: DPAE2:18CR00130-01
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 Three (3) years on each Counts 1 through 4, 9, and 11 through 16, such terms to run concurrently.




                                                     MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
5.     Ii!' You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 24SB (Rev 09119)   Judgment tn a Cnmmal Case
                      Stteet 3A - Supemsed Release
                                                                                               Judgment-Page         4       of          7
DEFENDANT: STAMATIOS KOUSISIS
CASE NUMBER: DPAE2:18CR00130-01

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a frrearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confrrm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www .uscourts.gov.


Defendant's Signature                                                                                    Date
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AO 24 SB (Rev 09119)   Judgment m a Crurunal Case
                       Sheet 3B · - SupervtSed Release
                                                                                             Judgment- -Page   5    of      7
DEFENDANT: STAMATIOS KOUSISIS
CASE NUMBER: DPAE2:18CR00130-01

                                       ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall provide the U.S. Probation Office with full disclosure of his financial records to include yearly income
 tax returns upon the request of the U.S. Probation Office. The defendant shall cooperate with the probation officer in the
 investigation of his financial dealings and shall provide truthful monthly statements of his income.

 The defendant is prohibited from incurring any new credit charges or opening additional lines of credit without the approval
 of the probation officer. unless the defendant is in compliance with a payment schedule for any fine or restitution obligation.
 The defendant shall not encumber or liquidate interest in any assets unless it is in direct service of the fine or restitution
 obligation or otherwise has th express approval of the Court.
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AO 245B (Rev 09/19)   Judgment ma Crunmal Case
                      Sheet 5 - Crunmal Monetary Penalties
                                                                                                      Judgment - Page       _6   of        7
 DEFENDANT: STAMATIOS KOUSISIS
 CASE NUMBER: DPAE2:18CR00130-01
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Assessment                  Restitution             Fine                  AV AA Assessment*              JVT A Assessment**
 TOTALS          $ 1,100.00                $                         $ 17,500.00         $                              $


 D The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYJ:!!ent, unless s~cified otherwise in
     the priori!)'. order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                Total Loss***               Restitution Ordered            Priority or Percentage




TOTALS                              $                         0.00         $                       0.00


D     Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      D the interest requirement is waived for the           D fine     D restitution.
     D the interest requirement for the           D fine      D restitution is modified as follows:

*Amy,_ VickyV~4 Andy Child P9mograph_y Victim Assistance Act of2018, Pub. L. No. 115-299.
::/u~ttc~ for  1cttms ofTraffickmg Act of2015, P_ub. L. No. 114-22.
     Fmdmgs for the total amount oflosses ¥e requrred under Chapters 109A, 110, l IOA and l 13A of Title 18 for offenses committed on
or after September 13, 1994, but before Apnl 23, 1996.                               '
AO 245B (Rev 09119)     Casem2:18-cr-00130-WB
                      Judgment   a Crurunal Case             Document 207 Filed 11/08/19 Page 7 of 7
                      Sheet 6 - Schedule of Payments
                                                                                                               Judgment - Page   7      of      . 1
 DEFENDANT: STAMATIOS KOUSISIS
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                                                    SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    !ti   Lump sum payment of$        18,600.QO             due immediately, balance due

            D      not later than                                  , or
            liZI   in accordance with   D C,      D D,        D     E,or      liZ1   F below; or

 B    D     Payment to begin immediately (may be combined with             D C,          D D, or     D F below); or
 C    D Payment in equal                           (e.g. weekly. monthly, quarterly) installments of $                 over a period of
                          (e g. months or years), to commence                       (e g. 30 or 60 days) after the date of this judgment; or

 D    D Payment in equal                           (e.g. weekly. monthly, quarterly) installments of $                 over a period of
            _             (e g. months or years), to commence                       (e g. 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    D     Payment during the term of supervised release will commence within       ._     . (eg. 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    Ill   Special instructions regarding the payment of criminal monetary penalties:
             The defendant shall pay to the United States a fine of $17,500. The fine is due immediately and payable within ten
             (10) days of the imposition of sentencing. The defendant shall notify the U.S. Attorney for this district within (30)
             days of any change of mailing address or residence that occurs while any portion of the fine remains unpaid.



Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mone!fil'Y penalties is due during
the period of imprisonment. All criminal mone~ penaHies, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                     Joint and Several               Corresponding Payee,
      (including defendant number)                       Total Amount                           Amount                         if appropriate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payip.ents shall be aJ?plied in the following order: ( 1) assessment, (2) restitution princ~al, (3) restitution interest, (4) AVAA assessment,
(SJ fine principal, (()) fine interest, (7) community restitution, (8) NT A assessment, (9) penalties, and (1 O) costs, mcluding cost of
prosecution and court costs.
